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                                                    Hearing Date and Time: To be determined.
                                                        Response Deadline: December 2, 2019
                                                           Reply Deadline: December 17, 2019
PAUL, WEISS, RIFKIND, WHARTON &
GARRISON LLP
1285 Avenue of the Americas
New York, New York 10019
Tel: 212-373-3000
Fax: 212-757-3990
Andrew N. Rosenberg
Aidan Synnott
William A. Clareman

Counsel for the Bondholder Defendants

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                             Chapter 15

 PERFORADORA ORO NEGRO, S. DE R.L. DE C.V., Case No. 18-11094 (SCC) (Jointly
 et al.                                     Administered)

 Debtors in a Foreign Proceeding.


 FERNANDO PEREZ-CORREA IN HIS CAPACITY      Adv. Pro. No. 19-01360(SCC)
 AS FOREIGN REPRESENTATIVE OF
 PERFORADORA ORO NEGRO, S. DE R.L. DE C.V.;
 JOSE ANTONIO CAÑEDO-WHITE; CARLOS
 WILLIAMSON-NASI; GONZALO GILWHITE;
 AND MIGUEL ANGEL VILLEGAS-VARGAS

                              Plaintiff,

                      -against-

 ASIA RESEARCH AND CAPITAL MANAGEMENT
 LTD.; GHL INVESTMENTS (EUROPE) LTD.; ORO
 NEGRO PRIMUS PTE., LTD.; ORO NEGRO
 LAURUS PTE., LTD.; ORO NEGRO FORTIUS PTE.,
 LTD.; ORO NEGRO DECUS PTE., LTD.; ORO
 NEGRO IMPETUS PTE., LTD.; SHIP FINANCE
 INTERNATIONAL LTD.; and DOES 1-100

                              Defendants.
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                    NOTICE AND MOTION TO DISMISS COMPLAINT

               PLEASE TAKE NOTICE THAT, upon the accompanying Defendants’

Memorandum of Law in Support of Their Motion to Dismiss, the Declaration of William A.

Clareman and the exhibits thereto, and all pleadings and proceedings heretofore had before this

Court, Defendants Asia Research and Capital Management Ltd., GHL Investments (Europe) Ltd.,

and Ship Finance International Ltd. (the “Bondholder Defendants”), by and through their

undersigned counsel, will move before the Honorable Shelley C. Chapman, United States

Bankruptcy Judge, in Courtroom 623 of the United States Bankruptcy Court, Southern District of

New York, One Bowling Green, New York, New York, 10004, at a date and time to be determined

by the Court, pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), for the entry of

an Order (i) dismissing the Complaint in its entirety, and (ii) granting such other and further relief

as this Court may deem just and proper. (Hereinafter, the “Motion.”)

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must

be in writing, must conform to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and the Local Rules of the Bankruptcy Court for the Southern District of New York, must

set forth the name of the objecting party, the basis for the objection and the specific grounds

therefore, and must be filed with the Bankruptcy Court, by no later than December 2, 2019, and

any objection must further be served upon (i) Paul, Weiss, Rifkind, Wharton & Garrison LLP,

1285 Avenue of the Americas, New York, New York 10019, Attn: Andrew N. Rosenberg, Esq.,

Aidan Synnott, Esq., William A. Clareman, Esq., and Claudia Tobler, Esq., attorneys for

Bondholder Defendants; (ii) Quinn Emanuel Urquhart & Sullivan, LLP, 1300 I Street NW,

Washington, D.C., Attn: Juan P. Morillo, Esq., attorney for Plaintiffs; and (iii) those parties who

have filed a notice of appearance in the above referenced adversary proceeding.




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              PLEASE TAKE FURTHER NOTICE, that a hearing will be held with respect to

the Motion on a date and at a time to be determined by the Court.


Dated: October 31, 2019
New York, New York                                 PAUL, WEISS, RIFKIND, WHARTON
                                                   & GARRISON LLP

                                                   /s/ William A. Clareman
                                                   Andrew N. Rosenberg
                                                   Aidan Synnott
                                                   William A. Clareman
                                                   Claudia Tobler
                                                   Christopher Hopkins
                                                   Crystal Johnson Geise

                                                   1285 Avenue of the Americas
                                                   New York, New York 10019
                                                   Telephone: (212) 373-3000
                                                   Facsimile: (212) 757-3990
                                                   arosenberg@paulweiss.com
                                                   asynott@paulweiss.com
                                                   wclareman@paulweiss.com
                                                   ctobler@paulweiss.com
                                                   chopkins@paulweiss.com
                                                   cgeise@paulweiss.com

                                                   Counsel for the Bondholder Defendants




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